Case 4:20-cv-03389 Document 1-3 Filed on 10/01/20 in TXSD Page 1 of 13




           EXHIBIT C
Case 4:20-cv-03389 Document 1-3 Filed on 10/01/20 in TXSD Page 2 of 13

                 2020-60505 / Court: 281




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                          es
                                        rg
                                     Bu
                                   n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                 yO
              op
            C
         ial
       fic
    of
  Un
Case 4:20-cv-03389 Document 1-3 Filed on 10/01/20 in TXSD Page 3 of 13




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                          es
                                        rg
                                     Bu
                                   n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                 yO
              op
            C
         ial
       fic
    of
  Un
Case 4:20-cv-03389 Document 1-3 Filed on 10/01/20 in TXSD Page 4 of 13




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                          es
                                        rg
                                     Bu
                                   n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                 yO
              op
            C
         ial
       fic
    of
  Un
Case 4:20-cv-03389 Document 1-3 Filed on 10/01/20 in TXSD Page 5 of 13




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                          es
                                        rg
                                     Bu
                                   n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                 yO
              op
            C
         ial
       fic
    of
  Un
Case 4:20-cv-03389 Document 1-3 Filed on 10/01/20 in TXSD Page 6 of 13




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                          es
                                        rg
                                     Bu
                                   n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                 yO
              op
            C
         ial
       fic
    of
  Un
Case 4:20-cv-03389 Document 1-3 Filed on 10/01/20 in TXSD Page 7 of 13




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                          es
                                        rg
                                     Bu
                                   n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                 yO
              op
            C
         ial
       fic
    of
  Un
Case 4:20-cv-03389 Document 1-3 Filed on 10/01/20 in TXSD Page 8 of 13




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                          es
                                        rg
                                     Bu
                                   n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                 yO
              op
            C
         ial
       fic
    of
  Un
Case 4:20-cv-03389 Document 1-3 Filed on 10/01/20 in TXSD Page 9 of 13




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                          es
                                        rg
                                     Bu
                                   n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                 yO
              op
            C
         ial
       fic
    of
  Un
Case 4:20-cv-03389 Document 1-3 Filed on 10/01/20 in TXSD Page 10 of 13




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:20-cv-03389 Document 1-3 Filed on 10/01/20 in TXSD Page 11 of 13




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:20-cv-03389 Document 1-3 Filed on 10/01/20 in TXSD Page 12 of 13




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
Case 4:20-cv-03389 Document 1-3 Filed on 10/01/20 in TXSD Page 13 of 13




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                           es
                                         rg
                                      Bu
                                    n
                                 ily
                               ar
                            M
                          of
                        e
                     ffic
                  yO
               op
            C
          ial
       fic
    of
  Un
